
ShackeleoRD, J.,
delivered the opinion of the Court.
This is an indictment for usury, against the de*223fendant in error. The charge in the indictment is, the defendant unlawfully did exact and claim off of, and from, one John P. Mitchell, the sum of sixty-five ■dollars, for the loan, deliverance and use of sixty-five dollars, at terms usurious, &amp;c.
The defendant moved to quash • the indictment, which motion was sustained by the Court. The Attorney General appealed. We think the Court erred in quashing the indictment. An offense is distinctly charged. The words “did exact,” are sufficiently comprehensive.
The term implies, to enforce, to exact. Did exact, implies to enforce the payment. A more comprehensive word to express the illegal act of the usurer, could not be used.
The judgment is reversed, and the cause remanded to the Circuit Court of Macon, for further' proceedings.
